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EMR:RAS
F. #2023R00259

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                 AFFIDAVIT AND
                                                         COMPLAINT IN SUPPORT
            - against -                                  OF AN APPLICATION FOR
                                                         AN ARREST WARRANT
BLAKE CHERRY,
                                                         (18 U.S.C. §§ 1591(a)(1), (a)(2), (b)(1))
                          Defendant.

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EASTERN DISTRICT OF NEW YORK, SS:

               Jeremy Gale, being duly sworn, deposes and states that he is a Special Agent with

the Federal Bureau of Investigation, duly appointed according to law and acting as such.

               On or about May 7, 2024, within the Eastern District of New York and elsewhere,

the defendant BLAKE CHERRY did knowingly and intentionally recruit, entice, harbor,

transport, provide, obtain and maintain by any means a person, to wit: Jane Doe, an individual

whose identity is known to the Affiant, in and affecting interstate commerce, and did benefit,

financially and by receiving things of value, from participation in a venture which engaged in

such acts, knowing and in reckless disregard of the fact that means of force, threats of force,

fraud and coercion, as described in Title 18, United States Code, Section 1591(e)(2), and a

combination of such means, would be used to cause Jane Doe to engage in one or more

commercial sex acts, which offense was effected by means of force, threats of force, fraud and

coercion, and a combination of such means.

               (Title 18, United States Code, Sections 1591(a)(1), (a)(2), (b)(1) and 3551 et seq.)
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                The source of your deponent’s information and the grounds for his/her belief are

as follows: 1

                1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

have been involved in the investigation of numerous cases involving sex trafficking. I am

familiar with the facts and circumstances set forth below from my participation in the

investigation; my review of the investigative file, including the defendant’s criminal history

record; and from reports of other law enforcement officers involved in the investigation.

                2.     CHERRY is currently a registered level three sex offender in New York as

a result of a prior felony conviction for sex trafficking, which offense involved a fourteen-year-

old minor victim, in violation of New York Penal Law 230.34. The offense took place on or

about April 2, 2016. CHERRY was convicted for this offense in Kings County Supreme Court

on or about March 7, 2017 and was sentenced to two-to-six-years’ imprisonment, followed by

five years of post-release supervision. CHERRY was released on October 16, 2023, and

remains on supervision until October 3, 2028

                3.     On or about May 8, 2024, Jane Doe contacted 911 and reported in

substance and in part that she was kidnapped for three days and held by an individual she later

identified as CHERRY.

                4.     During the 911 call, Jane Doe reported in substance and in part that she

was sold and “beat on,” including being hit in the face. Notably, on May 8, 2024, I observed a

cut on Jane Doe’s face.




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               Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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              5.     Jane Doe reported to law enforcement that on or about May 7, 2024,

CHERRY forced Jane Doe to engage in sexual intercourse with unknown men in exchange for

money.

              6.     According to Jane Doe, the men with whom CHERRY forced her to have

sex contacted CHERRY using an application on CHERRY’s phone.

              7.     On or about May 8, 2024, Jane Doe was able to escape and contacted 911.

New York City Police (“NYPD”) officers responded and subsequently arrested CHERRY at

CHERRY’s Residence for unlawful imprisonment of Jane Doe, among other things. At the time

of arrest, Jane Doe was brought to CHERRY’s Residence where she identified CHERRY as the

person who had detained her.

              WHEREFORE, your deponent respectfully requests that the defendant BLAKE

CHERRY, be dealt with according to law.



                                          Jeremy
                                            remy Gale
                                          Special Agent, Federal Bureau of Investigation
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Sworn to before me this
 day of May, 2024
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THE HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
